            Case 2:17-cv-01731-TSZ Document 56 Filed 09/28/18 Page 1 of 3



 1                                                                The Honorable Thomas S. Zilly

 2

 3

 4

 5

 6

 7                           UNITED STATES DISTRICT COURT

 8                        WESTERN DISTRICT OF WASHINGTON

 9                                     AT SEATTLE
10
   STRIKE 3 HOLDINGS, LLC, a Delaware            Case No.: 2:17-cv-01731-TSZ
11 corporation,
                                                 NOTICE OF SUPPLEMENTAL
12                      Plaintiff,               AUTHORITY

13 vs.

14 JOHN DOE subscriber assigned IP address
   73.225.38.130,
15
                     Defendant.
16

17

18

19
20

21

22

23

24

25

26
27

28   NOTICE OF SUPPLEMENTAL                                     EDMONDSON IP LAW
                                                       Venture Commerce Center, 3699 NE John Olsen Ave
     AUTHORITY - 2:17-cv-01731-TSZ                                  Hillsboro, Oregon 97124
                                                             TEL. 503.336.3749  FAX 503.482.7418
                                             1
             Case 2:17-cv-01731-TSZ Document 56 Filed 09/28/18 Page 2 of 3



 1
            Pursuant to Local Rules W.D. Wash. LCR 7(n), counsel for Defendant John Doe
 2
     subscriber assigned IP address 73.225.38.130 (“Defendant”) hereby submit the recent Ninth
 3
     Circuit opinion issued by Judge McKeown in Cobbler Nevada, LLC v Thomas Gonzalez, No.
 4
     17-35041 (9th Cir., 2018). Exhibit 1.
 5
            The summary of the opinion is provided below.
 6
                     The panel affirmed the district court’s dismissal of an action under the
 7          Copyright Act, alleging direct and contributory infringement of plaintiff’s
 8          copyrights in a film.
                     Plaintiff alleged unauthorized downloading and distribution of the film
 9          through peer-to-peer BitTorrent networks. The panel held that the bare allegation
            that the defendant was the registered subscriber of an Internet Protocol address
10          associated with infringing activity was insufficient to state a claim for direct or
            contributory infringement. The panel also held that the district court did not abuse
11          its discretion in awarding attorney’s fees to the defendant under 17 U.S.C. § 505
12

13 Respectfully submitted on September 28, 2018

14                                                by:   /s/ J. Curtis Edmondson
15                                                J. Curtis Edmondson, WSBA #43795
16                                                3699 NE John Olsen Avenue Hillsboro, OR 97124
                                                  Telephone: (503) 336-3749
17                                                Email: jcedmondson@edmolaw.com
                                                  Attorney for Defendant
18

19
20

21

22

23

24

25

26
27

28    NOTICE OF SUPPLEMENTAL                                            EDMONDSON IP LAW
                                                               Venture Commerce Center, 3699 NE John Olsen Ave
      AUTHORITY - 2:17-cv-01731-TSZ                                         Hillsboro, Oregon 97124
                                                                     TEL. 503.336.3749  FAX 503.482.7418
                                                    2
              Case 2:17-cv-01731-TSZ Document 56 Filed 09/28/18 Page 3 of 3



1                                     CERTIFICATE OF SERVICE
2
            I, J. Curtis Edmondson, hereby certify that on September 28, 2018, I electronically filed
3
     the foregoing with the Clerk of the Court using the CM/ECF system which will send
4
     notification of such filing to the following:
5

6
                    Bryan J. Case, WSBA #41781
7                   Email: bcase@foxrothschild.com
                    FOX ROTHSCHILD LLP (SEATTLE)
8                   1001 Fourth Avenue, suite 4500
                    Seattle, Washington 98154
9                   Telephone: (206) 624-3600
10
                    Lincoln D. Bandlow, Admitted Pro Hac Vice
11                  Email: lbandlow@foxrothschild.com
                    FOX ROTHSCHILD LLP (LOS ANGELES)
12                  10250 Constellation Blvd., Suite 900
                    Los Angeles, California 90067
13                  Telephone: (310) 598-4150
14
                    Attorneys for Plaintiff Strike 3 Holdings LLC
15

16          DATED this 28th day of September, 2018.

17
                                               By: /s/ J. Curtis Edmondson
18
                                                   J. Curtis Edmondson
19
20

21

22

23

24

25

26
27

28    NOTICE OF SUPPLEMENTAL                                           EDMONDSON IP LAW
                                                              Venture Commerce Center, 3699 NE John Olsen Ave
      AUTHORITY - 2:17-cv-01731-TSZ                                        Hillsboro, Oregon 97124
                                                                    TEL. 503.336.3749  FAX 503.482.7418
                                                     3
